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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                     GREENVILLE DIVISION




     UNITED STATES OF AMERICA

v.                                                         CRIMINAL NO. 4: 19cr80-NBB-JMV -5

     COREY K. LEWIS

                                   ORDER SUBSTITUTING COUNSEL

            The Federal Public Defender has moved for an order substituting counsel in the above-

     styled and numbered cause due to a potential conflict of interest. The Office of the Federal Public

     Defender contacted Michael S. Carr July 12, 2019, who agreed to be appointed as counsel to

     represent this defendant in his cause to eliminate any possibility of a conflict of interest and

     Michael S. Carr agreed to be substituted as counsel for the defendant.

            Therefore, IT IS HEREBY ORDERED AND ADJUDGED that:

            The Office of the Federal Public Defender is hereby released from the obligation of the

     representation of this defendant and any other responsibilities concerning the above-styled and

     numbered cause and that Michael S. Carr is hereby substituted as counsel of record for the

     defendant in this cause.

            IT IS SO ORDERED this the j!J.-.__ day of July, 2019.




                                                                       TRATEJUDGE
